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               IN THE CIRCUIT COURT OF THE TWENTIETH JUDICIAL CICRCUIT
                            IN AND FOR LEE COUNTY FLORIDA

         CATHERINE LYNNE MCEACHERN,
                                                         CASE NO.: 23-CA-009144
                                 Plaintiff,              DIVISION:
         v.

         JOHN NELSON MCEACHERN and
         UNITED STATES OF AMERICA, ACTING
         ON BEHALF OF THE DEPARTMENT OF
         TREASURY, INTERNAL REVENUE
         SERVICE,

                                 Defendants.
         ____________________________________/


                                               SUMMONS

        THE STATE OF FLORIDA:

        TO EACH SHERIFF OF THE STATE:

                YOU ARE COMMANDED to serve this Summons and a copy of the Complaint in this
        action on Defendant:

                      UNITED STATES OF AMERICA, ACTING ON BEHALF OF THE
                      DEPARTMENT OF TREASURY, INTERNAL REVENUE SERVICE
                      c/o UNITED STATES ATTORNEY
                      300 N. HOGAN STREET, SUITE 700
                      JACKSONVILLE, FLORIDA 32202
                      [By Personal Service]

               AND

                      UNITED STATES OF AMERICA, ACTING ON BEHALF OF THE
                      DEPARTMENT OF TREASURY, INTERNAL REVENUE SERVICE
                      c/o ATTORNEY GENERAL OF THE UNITED STATES
                      950 PENNSYLVANIA AVENUE, NW
                      WASHINGTON, DC 20530-0001
                      [By Certified Mail, Return Receipt Requested]

               Each Defendant is required to serve written Defenses to this Complaint on the Plaintiff's
        Attorney, whose name and address are:




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